                    Case 2:10-cr-00575-JCM-VCF                   Document 148                     Filed 03/19/12                        Page 1 of 7
AO 245B         (Rev. 09/08) Judgment in a Criminal Case
v1              6KHHW



                                            81,7('67$7(6',675,&7&2857
                                                            DISTRICT OF NEVADA

               81,7('67$7(62)$0(5,&$                                            JUDGMENT IN A CRIMINAL CASE
                                    v.                                                                          AMENDED
                     RUBEN PEREZ-CRUZ -1                                     * &DVH1XPEHU 2:10-CR-0545-JCM-VCF
                                                                                                    575

                                                                                   8601XPEHU 45530-048

                                                                                    ROBERT DRASKOVICH
                                                                                   'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
G SOHDGHGJXLOW\WRFRXQW V
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
     ZKLFKZDVDFFHSWHGE\WKHFRXUW
✔ZDVIRXQGJXLOW\RQFRXQW V
G                                          ONE [1] OF THE SUPERSEDING INDICTMENT
     DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section        ?            Nature of Offense                                                                      Offense Ended                           Count

 21 U.S.C.§§846;841(a)               Conspiracy to Distribute Methamphetamine                                                 11/18/2010                            one [1]

 (1) and 841(b)(1)(A)(viii)




     See additional count(s) on page 2


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV  WKURXJK 7            RIWKLVMXGJPHQW The sentence is impRVHGSXUVXDQWWo the
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
✔&RXQW V
G                Original Indictment                       ✔LV
                                                           G     G DUHdismiVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDmeUHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG If RUGHUHGWRSD\UHVWLWXWLRQ
                                                                                                                            
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                        FEBRUARY 3, 2012
                                                                         'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                                         Signature of Judge


                                                                        JAMES C. MAHAN, U.S. DISTRICT JUDGE
                                                                         1DPHRI-XGJH7LWOHRI-XGJH

                                                                         February 8, 2012
                                                                         'DWH
                     AMENDED
                        Case 2:10-cr-00575-JCM-VCF                         Document 148             Filed 03/19/12       Page 2 of 7
    AO 245B         (Rev. 09/08) Judgment in a Criminal Case
    v1              Sheet 2 — Imprisonment

                                                                                                                            Judgment Page: 2 of 7
         DEFENDANT: RUBEN PEREZ-CRUZ -1
         CASE NUMBER: 2:10-CR-0545-JCM-VCF
                                75
*
                                                                        IMPRISONMENT

                  The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
         total term of:
                        (128) MONTHS




             G The court makes the following recommendations to the Bureau of Prisons:




             ✔ The defendant is remanded to the custody of the United States Marshal.
             G

             G The defendant shall surrender to the United States Marshal for this district:
                 G at                                          G a.m.      G p.m.       on

                 G as notified by the United States Marshal.

             G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 G before                    on

                 G as notified by the United States Marshal.
                 G as notified by the Probation or Pretrial Services Office.


                                                                              RETURN
         I have executed this judgment as follows:




                 Defendant delivered on                                                              to

         a                                                      , with a certified copy of this judgment.



                                                                                                               UNITED STATES MARSHAL


                                                                                      By
                                                                                                            DEPUTY UNITED STATES MARSHAL
                      AMENDED
                        Case 2:10-cr-00575-JCM-VCF                           Document 148               Filed 03/19/12              Page 3 of 7
    AO 245B           (Rev. 09/08) Judgment in a Criminal Case
    v1                Sheet 3 — Supervised Release

                                                                                                                                       Judgment Page: 3 of 7
     DEFENDANT: RUBEN PEREZ-CRUZ -1
*    CASE NUMBER: 2:10-CR-0545-JCM-VCF
                          575
                                                                  SUPERVISED RELEASE
      Upon release from imprisonment, the defendant shall be on supervised release for a term of :
                                   (5) YEARS


              The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
      custody of the Bureau of Prisons.
      The defendant shall not commit another federal, state or local crime.
      Thedefendant
      The   defendantshall
                       shall
                           notnot  unlawfully
                               unlawfully       possess
                                            possess       a controlled
                                                     a controlled       substance.
                                                                  substance.        The defendant
                                                                             The defendant             shall
                                                                                             shall refrain    refrain
                                                                                                           from         from any
                                                                                                                  any unlawful   useunlawful  use ofsubstance.
                                                                                                                                     of a controlled  a controlled
                                                                                                                                                                 The defendant
      substance.
    shall submit to The defendant
                    one drug  test within    daysitoftoplacement
                                     shall15subm        one drugontest within and
                                                                     probation 15 days  of two
                                                                                  at least  release  fromdrug
                                                                                                periodic    imprisonment      andasatdetermined
                                                                                                                tests thereafter,     least two by
                                                                                                                                                 periodic  drug
                                                                                                                                                    the court, nottests
                                                                                                                                                                   to exceed
      thereafter, as determined by the court.
    104 tests annually. Revocation is mandatory for refusal to comply.
      G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
               future substance abuse. (Check, if applicable.)
      ✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
      G
      ✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      G

      G The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
               works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

      G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
              If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
      Schedule of Payments sheet of this judgment.
                The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
      on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION
          1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
          2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
                each month;
          3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
          4)    the defendant shall support his or her dependents and meet other family responsibilities;
          5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                acceptable reasons;
          6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
          7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
                controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
          8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
          9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
                felony, unless granted permission to do so by the probation officer;
         10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
                contraband observed in plain view of the probation officer;
         11)    the defendant shall notify the probation officer within sevent y-two hours of being arrested or questioned by a law enforcement officer;
         12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
                permission of the court; and

         13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
                record or personal history or characteristics and shall permit th e probation officer to make such notifications and to confirm the
                defendant’s compliance with such notification requirement.
                AMENDED
                    Case 2:10-cr-00575-JCM-VCF               Document 148          Filed 03/19/12        Page 4 of 7
 AO 245B        (Rev. 09/08) Judgment in a Criminal Case
 v1             Sheet 3C — Supervised Release

                                                                                                            Judgment Page: 4 of 7
  DEFENDANT: RUBEN PEREZ-CRUZ -1
* CASE NUMBER: 2:10-CR-0545-JCM-VCF
                       575

                                             SPECIAL CONDITIONS OF SUPERVISION
      1. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
      device, or other dangerous weapons, as defined by federal, state, or local law.

      2. Warrantless Search - You shall submit your person, property, residence, place of business and vehicle under your
      control to a search conducted by the United States Probation Officer or any authorized person under the immediate and
      personal supervision of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable
      suspicion of contraband or evidence of a violation of a condition of supervision; failure to submit to a search may be
      grounds for revocation; the defendant shall inform any other occupant that the premises may be subject to a search
      pursuant to this condition.

      3. Deportation Compliance - You shall not re-enter the United States without legal authorization.

      4. True Name - You shall use your true name at all times and will be prohibited from the use of any aliases, false dates of
      birth, social security numbers, places of birth, and any other pertinent demographic information.

      5. Report to Probation Officer After Release From Custody - You shall report in person, to
      the probation office in the district in which you are released within 72 hours of discharge from custody.

      Note: A written statement of the conditions of release was provided to the Defendant by the Probation Officer in open
      court at the time of sentencing.
                   Case 2:10-cr-00575-JCM-VCF
                 AMENDED                                            Document 148            Filed 03/19/12            Page 5 of 7
    AO 245B      (Rev. 09/08) Judgment in a Criminal Case
    v1           Sheet 5 — Criminal Monetary Penalties

                                                                                                                        Judgment Page: 5 of 7
     DEFENDANT: RUBEN PEREZ-CRUZ -1
*    CASE NUMBER: 2:10-CR-0545-JCM-VCF
                          575
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                           Assessment                                      Fine                               Restitution
     TOTALS            $ 100.00                                          $ 0.00                            $ 0.00


     G The determination of restitution is deferred until                  . An Amended -XGJPHQWLQD&ULPLQDO&DVH(AO 245C) will be entered
         after such determination.

     G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. +RZHYer, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

     Name of Payee                                                   Total Loss*               Restitution Ordered      Priority or Percentage




    TOTALS                                                                            $0.00                     $0.00


    G     Restitution amount ordered pursuant to plea agreement 

    G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). $OORIWKHSD\PHnt options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          G the interest requirement is waived for the          G fine     G restitution.
          G the interest requirement for the           G fine    G restitution is modified as follows:


    * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
    September 13, 1994, but before April 23, 1996.
                AMENDED
                  Case 2:10-cr-00575-JCM-VCF                         Document 148              Filed 03/19/12            Page 6 of 7
 AO 245B       (Rev. 09/08) Judgment in a Criminal Case
 v1            Sheet 6 — Schedule of Payments

                                                                                                                             Judgment Page: 6 of 7
  DEFENDANT: RUBEN PEREZ-CRUZ -1
* CASE NUMBER: 2:10-CR-0545-JCM-VCF
                       575


                                                          SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

  A    ✔ Lump sum payment of $ 100.00
       G                                                         due immediately, balance due

            G      not later than                                     , or
            G      in accordance          G C,        G D,      G       E, or     G F below; or
  B    G Payment to begin immediately (may be combined with                     G C,       G D, or      G F below); or
  C    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

  D    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

  E    G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

  F    G Special instructions regarding the payment of criminal monetary penalties:




  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
  imprisonment. All crimnal m onetary penalties, except those payments m ade through the Federal Bureau of Prisons’ Inmate Financ ial
  Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



  G Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




  G The defendant shall pay the cost of prosecution.
  G The defendant shall pay the following court cost(s):
  G The defendant shall forfeit the defendant’s interest in the following property to the United States:



  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                   AMENDED
                    Case 2:10-cr-00575-JCM-VCF                      Document 148          Filed 03/19/12          Page 7 of 7
    AO 245B       (Rev. 09/08) Judgment in a Criminal Case
    v1            Sheet 7 — Denial of Federal Benefits

                                                                                                                    Judgment Page: 7 of 7
    DEFENDANT: RUBEN PEREZ-CRUZ -1
*   CASE NUMBER: 2:10-CR-0545-JCM-VCF
                         575
                                                         DENIAL OF FEDERAL BENEFITS
                                                  (For Offenses Committed On or After November 18, 1988)

    FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

              IT IS ORDERED that the defendant shall be:

    ✔ ineligible for all federal benefits for a period of
    G                                                             5 years                       .

    G ineligible for the following federal benefits for a period of                                           .
         (specify benefit(s))




                                                                            OR
    G Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances, IT IS
         ORDERED that the defendant shall be permanently ineligible for all federal benefits.

    FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

         IT IS ORDERED that the defendant shall:

    G be ineligible for all federal benefits for a period of                                    .

    G be ineligible for the following federal benefits for a period of                                        .

         (specify benefit(s))




         G     successfully complete a drug testing and treatment program.

         G     perform community service, as specified in the probation and supervised release portion of this judgment.

               IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
               judgment as a requirement for the reinstatement of eligibility for federal benefits.



                      Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security,
    health, disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are
    required for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                                    U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
